        Case 2:13-cr-00106-DOC Document 600 Filed 09/09/22 Page 1 of 1 Page ID #:9563

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES – GENERAL


Case No. 8:13-cr-00106-DOC                                                              Date: September 9, 2022


Present: The Honorable David O. Carter

Interpreter     N/A
                Karlen Dubon                          N/A                                         N/A
                Deputy Clerk                Court Reporter / Recorder                   Assistant U.S. Attorney

  U.S.A. v. Defendant(s)        Present Cust      Bond             Attorneys for Defendants:         Present App Ret
  Mongol Nation                 N/A                                 N/A                               N/A


PROCEEDINGS (IN CHAMBERS): ORDER GRANTING IN PART
                           REQUEST RE HEARING [557]

        On August 24, 2022, the Court issued a protective order subjecting any item produced pursuant
to the protective order in the matter of United States v. Landa-Rodriguez, 2:18-cr-00173-GW-AB, to
the identical terms and conditions of that previous protective order. (CR 582, 2:18-cr-00173-GW-AB).

        On September 9, 2022, the court in Landa-Rodriguez ordered that the previous protective order
no longer applied to discovery pages DT58748-DT58750. (CR 3784, 2:18-cr-00173-GW-AB).
Accordingly, discovery pages DT58748-DT58750 are also no longer subject to the protective order in
this case. (Dkt. 585).

         The Clerk shall serve this minute order on the parties.
cc



                                                                                                             :
                                                                     Initials of Deputy Clerk       kdu




CR-11 (04/15)                                  Criminal Minutes – General                      Page 1 of 1
